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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND

 UNITED STATES OF AMERICA                     *
                                              *
        v.                                    *         CRIMINAL NO. LKG-22-007
                                              *
 MARILYN J. MOSBY,                            *
                                              *
               Defendant                      *
                                              *
                                           *******

                                 ENTRY OF APPEARANCE

MADAM CLERK:

       Please enter the appearance of Stephanie Williamson as counsel for the United States of

America for forfeiture purposes only in the above-captioned case.

                                                  Respectfully submitted,

                                                  Erek L. Barron
                                                  United States Attorney

                                            By:      /s/
                                                  Stephanie Williamson
                                                  Assistant United States Attorney
